Case 1:06-Cv-00347-HG-BI\/|K Document 7 Filed 08/21/06 Page 1 of 1 Page|D #: 15

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JOHN HAR§IS PAER #1551-0 §§§§§§ :
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Hon<:>lul§., Haw§;i,i 9681'7 W§ §§?§§§§§§§
Telephcne: (SGS) 595*7179 h w §
Facsimile: (808) 595~39.§3 §§§ §§ § §§";;

email: paerjOO§@hawaii.rr.com
§§ _[L§i § i§§§ §§§ Wm§§ ’4"`_§§/

Attorney for Plaintiff §W§§§?§§Q§§§§
§§ THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

JOSLIENE STRAPPLE, CIVEL NO. 06-00347 HG-BMK
Plaintiff,

NOTICE OF DESMISSAL WITH

vs. PREJUDICE

NATIONW§DE RECOVERY

SYSTEMS, LTD.,

Defendant.

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NOTZCE OF DISM§SSAL WITH PREJUDICE
COMES NOW Plaintiff, by and through her undersigned
attorney and, pursuant to Rule 41(a)(1} of the Feéeral Rules 05
Civil Proc@dure, hereby diemisses the above action With prejudice.
Defendant has not respended. There are no remaining issues and
partiee.

DATED: Honolulu, Hewaii, §§§W§§'§i§ @@§§

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JOHN HARRIS PAER
Attorn@y for Pleimtiff

 

 

